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                                                             DEC I £2019
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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


 UNITED STATES OF AMERICA,                CR. NO. 19-00040 EEK


                     Plaintiff,
                                          MEMORANDUM OF PEEA
       vs.                                AGREEMENT


JOHN RABAGO,                              DATE: December 16, 2019
                                          TIME: 2:00 p.m.
                     Defendant.           JUDGE: Hon. Eeslie E. Kobayashi
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                 MEMORANDUM OF PLEA AGREEMENT

      Pursuant to Rule 11 ofthe Federal Rules of Criminal Procedure, the

UNITED STATES OF AMERICA,by its attorneys, the United States Attorney for

the District ofHawaii, and the Assistant Attorney General ofthe Civil Rights

Division ofthe United States Department of Justice, and the defendant, JOHN

RABAGO,and his attorney, Megan Kau,Esq., have agreed upon the following:

                                THE CHARGES


      1.    The defendant acknowledges that he is pleading guilty to the

Indictment charging him with Conspiracy Against Rights, in violation of Title 18,

United States Code, Section 241 (Count 1); and Deprivation ofRights Under Color

ofLaw,in violation of Title 18, United States Code, Section 242(Count 2).

      2.    The defendant has read the charges against him contained in the

Indictment, and those charges have been fully explained to him by his attorney.

      3.    The defendant fully understands the nature and elements ofthe crimes

with which he has been charged.

                              THE AGREEMENT


      4.    The defendant agrees to enter a voluntary plea of guilty to the

Indictment, which charges him with the above-stated offenses. In return, the

government agrees to(a)not move for an upward variance to his guideline

sentence as long as the defense does not move for a downward variance to
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defendant's guideline sentence; and(b)to jointly recommend to the Court that the

defendant be sentenced within the sentencing guideline range determined by the

Court, though the government cannot guarantee that outcome. The defendant

agrees that he will not be entitled to withdraw his guilty plea even ifthe Court

disagrees with the government's recommendation that the defendant be sentenced

within the sentencing guideline range determined by the Court.

      5.     The defendant agrees that this Memorandum ofPlea Agreement shall

be filed and become part ofthe record in this case.

      6.     The defendant enters this plea because he is in fact guilty of

Conspiracy Against Rights and Deprivation of Rights Under Color ofLaw as

charged in the Indictment, and he agrees that this plea is voluntary and not the

result offorce or threats.


                                   PENALTIES


      7.     The defendant understands that the penalties for the offenses to which

he is pleading guilty include:

             a.     For Count One, a term ofimprisonment of up to ten(10) years

in prison and a fine of up to $250,000, plus a term of supervised release up to three

(3)years;
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             b.     For Count Two,a term ofimprisonment ofup to one(1)year in

prison and a fine of up to $100,000, plus a term of supervised release up to one

year.


             c.     In addition, the Court must impose a $100 special assessment

for each count to which the defendant is pleading guilty. The defendant agrees to

pay the aggregate $200(Counts 1 and 2)to the District Court's Clerk's Office, to

be credited to said special assessments, before the commencement of any portion

of sentencing. The defendant acknowledges that failure to make such full advance

payment in a form and manner acceptable to the prosecution will allow,though not

require, the prosecution to withdraw from this Agreement at its option.

             d.     Restitution. The Court must also award restitution pursuant to

Title 18, United States Code, Section 3663A,to any persons or entities victimized

by the defendant's offenses. The defendant understands that the Court will

determine the amoimts of any restitution to be ordered, as well as any persons and

entities entitled to such restitution, with the assistance ofthe United States

Probation Office. The defendant agrees to pay restitution for all losses caused by

the defendant's conduct.


                           FACTUAL STIPULATIONS


        8.   The defendant admits the following facts and agrees that they are not

a detailed recitation or a complete review of all ofthe facts known to him, but
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merely include a summary offacts sufficient to support the charges to which the

defendant is pleading guilty:

             a.     During all relevant times described below, defendant Rabago

was employed as a police officer with the Honolulu Police Department(HPD),and

co-defendant Reginald Ramones was also employed as an HPD officer.

             b.     During all relevant times described below, defendant Rabago

understood that the Constitution and laws ofthe United States protect individuals

from unreasonable searches and seizures by law enforcement officers. Defendant

Rabago likewise understood that it was a federal crime to willfully deprive

individuals ofthat right, or to conspire with others to intimidate, injure, or oppress

individuals in their free exercise ofthat right.

             c.     On Sunday, January 28,2018, defendant Rabago responded to a

nuisance complaint at 808 Sheridan Street in Honolulu. There, he found a

homeless male, S.I., in a public bathroom. Eventually, co-defendant Ramones

also responded to the scene and joined defendant Rabago in addressing the

complaint regarding S.I. in the bathroom.

             d.     While co-defendant Ramones stood in the bathroom doorway,

propping open the door, defendant Rabago, in an aggressive tone, told S.I. that he

could only avoid arrest if he licked the urinal in the bathroom. Defendant Rabago
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repeated his threat to S.I. multiple times. At the time, defendant Rabago knew his

conduct was unreasonable and unconstitutional.

             e.     At the time, defendant Rabago knew that co-defendant

Ramones would recognize that defendant Rabago actually intended to make S.I.

lick the urinal.


             f.     After defendant Rabago threatened S.I., defendant Rabago told

co-defendant Ramones to close the door. Co-defendant Ramones acknowledged

defendant Rabago's request and moved away from the door into the bathroom,

allowing the bathroom door to close with co-defendant Ramones, defendant

Rabago, and S.I. inside the bathroom. When co-defendant Ramones closed the

door, he and defendant Rabago both knew what was going to happen and were

agreeing with one another to intimidate S.I. in the fi-ee exercise of S.I.'s

Constitutional right to be free from an unreasonable seizure.

             g.     Once co-defendant Ramones closed the bathroom door,

defendant Rabago again instructed S.I. to lick the urinal. S.I. then reluctantly

knelt down before the urinal and licked the urinal. Defendant Rabago then

allowed S.I. to gather his possessions and leave the bathroom.

             h.     Defendant Rabago followed S.I. out ofthe bathroom and

laughed as he told other officers that S.I. had just licked the urinal.
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             i.    Defendant Rabago understood that the actions that he and co-

defendant Ramones took on January 28,2018, amounted to a conspiracy to deprive

S.L of his constitutional right to be free from an unreasonable seizure.

Furthermore, defendant Rabago understood that he was acting under color oflaw

when he committed the acts described above on January 28,2018, and by doing so

deprived S.L ofthe right, secured and protected by the Constitution and laws ofthe

United States, to be free from an unreasonable seizure by a law enforcement

officer.


      9.     Pursuant to Grim. R 32.1(a) ofthe Local Rules ofthe United States

District Court for the District ofHawaii, the parties agree that the charges to which

the defendant is pleading guilty adequately reflects the seriousness ofthe actual

offense behavior and that accepting this Agreement will not undermine the

statutory purposes of sentencing.

                        SENTENCING STIPULATIONS


      10.    Pursuant to Crim. R 32.1(b)ofthe Local Rules ofthe United States

District Court for the District of Hawaii and Section 6B1.4 ofthe Sentencing

Guidelines,the parties stipulate to the following for the purpose of sentencing the

defendant in connection with this matter:


             a.    Factual stipulations:

                   The parties stipulate to the facts set forth in paragraph 8 ofthis
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Plea Agreement regarding the defendant's commission ofthe offense.

             b.    Pursuant to Federal Rules of Criminal Procedure(FRCP)Rule

11(c)(1)(B), the parties agree to recommend a sentence within the guideline range

pursuant to the United States Sentencing Guidelines(USSG), which would best

serve the interests ofjustice given the specific facts ofthis case. Furthermore,the

parties agree that the government will not move for an upward variance and the

defense will not move for a downward variance in this matter.

             c.    As ofthe date ofthis agreement, it is expected that the

defendant will enter a plea of guilty prior to the commencement oftrial, will

truthfully admit his involvement in the offenses and related conduct, and will not

engage in conduct that is inconsistent with such acceptance ofresponsibility. If

all ofthese events occur, and the defendant's acceptance ofresponsibility

continues through the date of sentencing, a downward adjustment of2 levels for

acceptance ofresponsibility will be appropriate. See U.S.S.G. § 3El.l(a)and

Application Note 3.

             d.    The United States Attorney agrees that the defendant's

agreement herein to enter into a guilty plea constitutes notice ofintent to plead

guilty in a timely manner, so as to permit the government to avoid preparing for

trial as to the defendant. Accordingly, the United States Attorney anticipates

moving in the Government's Sentencing Statement for a one-level reduction in


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sentencing offense level pursuant to Guideline § 3E1.1(b)(2), ifthe defendant is

otherwise eligible. The defendant understands that notwithstanding its present

intentions, and still within the Agreement,the prosecution reserves the rights(1)to

argue to the contrary in the event ofreceipt of new information relating to those

issues, and(2)to call and examine witnesses on those issues in the event that either

the United States Probation Office finds to the contrary ofthe prosecution's

intentions or the Court requests that evidence be presented on those issues.

             e.     The parties agree that notwithstanding the parties' Agreement

herein, the Court is not bound by any stipulation entered into by the parties but

may, with the aid ofthe presentence report, determine the facts relevant to

sentencing. The parties understand that the Court's rejection of any stipulation

between the parties does not constitute a refusal to accept this Agreement since the

Court is expressly not bound by stipulations between the parties.

             f.     The parties represent that as ofthe date ofthis agreement there

are no material facts in dispute.

                       APPEAL/COLLATERAL REVIEW


      11.    The defendant is aware that he has the right to appeal his conviction

and the sentence imposed. Except as indicated in subparagraph "b" below,the

defendant knowingly and voluntarily waives the right to appeal his conviction, any

sentence within the Guidelines range as determined by the Court at the time of
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sentencing, and any lawful restitution order imposed, or the manner in which the

sentence or restitution order was determined, on any ground whatsoever,in

exchange for the concessions made by the prosecution in this Agreement. The

defendant understands that this waiver includes the right to assert any and all

legally waivable claims.

             a.     The defendant also waives the right to challenge his conviction

or sentence or the manner in which it was determined in any collateral attack,

including, but not limited to, a motion brought under Title 28, United States Code,

Section 2255, except that the defendant may make such a challenge(1)as

indicated in subparagraph "b" below, or(2)based on a claim ofineffective

assistance of coimsel. Defendant's knowing and volimtary waiver ofthe right to

appeal or collaterally attack the conviction and sentence includes a waiver ofthe

right to raise on appeal or on collateral review any argument that(1)any statute to

which the defendant is pleading guilty is unconstitutional and(2)the admitted

conduct does not fall within the scope ofthe statute.

             b.     Ifthe Court imposes a sentence greater than specified in the

guideline range determined by the Court, the defendant retains the right to appeal

the portion of his sentence greater than specified in that guideline range and the

manner in which that portion was determined and to challenge that portion of his

sentence in a collateral attack.



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             c.    The prosecution retains its right to appeal the sentence and the

manner in which it was determined on any ofthe grounds stated in Title 18, United

States Code, Section 3742(b).

                           FINANCIAL DISCLOSURE


      12.    In connection with the collection of restitution or other financial

obligations that may be imposed upon him,the defendant agrees as follows:

             a.    The defendant agrees to fully disclose all assets in which he has

any interest or over which he exercises control, directly or indirectly, including any

assets held by a spouse, nominee, or third party. The defendant understands that

the United States Probation Office(USPO)will conduct a presentence

investigation that will require the defendant to complete a comprehensive financial

statement. To avoid the requirement ofthe defendant completing financial

statements for both the USPO and the government,the defendant agrees to

truthfully complete a financial statement provided to the defendant by the United

States Attorney's Office. The defendant agrees to complete the disclosure

statement and provide it to the USPO within the time frame required by the United

States Probation officer assigned to the defendant's case. The defendant

understands that the USPO will in turn provide a copy ofthe completed financial

statement to the United States Attorney's Office. The defendant agrees to provide

written updates to both the USPO and the United States Attorney's Office


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regarding any material changes in circumstances, which occur prior to sentencing,

within seven days ofthe event giving rise to the changed circumstances. The

defendant's failure to timely and accurately complete and sign the financial

statement, and any written update thereto, may,in addition to any other penalty or

remedy,constitute the defendant's failure to accept responsibility under U.S.S.G §

3E1.1.


             b.    The defendant expressly authorizes the United States

Attorney's Office to obtain his credit report. The defendant agrees to provide

waivers, consents, or releases requested by the United States Attorney's Office to

access records to verify the financial information, such releases to be valid for a

period extending 90 days after the date of sentencing. The defendant also

authorizes the United States Attorney's Office to inspect and copy all financial

documents and information held by the USPO.

             c.    Prior to sentencing, the defendant agrees to notify the Financial

Litigation Unit ofthe U.S. Attorney's Office before making any transfer of an

interest in property with a value exceeding $1,000 owned directly or indirectly,

individually or jointly, by the defendant, including any interest held or owned

under any name, including trusts, partnerships, and corporations.




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                         IMPOSITION OF SENTENCE


      13.    The defendant understands that the District Court in imposing

sentence will consider the provisions ofthe advisory Sentencing Guidelines. The

defendant agrees that there is no promise or guarantee ofthe applicability or non-

applicability of any Guideline or any portion thereof, notwithstanding any

representations or predictions from any source.

      14.    The defendant understands that this Agreement will not be accepted or

rejected by the Court until there has been an opportunity by the Court to consider a

presentence report, imless the Court decides that a presentence report is

unnecessary. The defendant understands that the Court will not accept an

agreement unless the Court determines that the remaining charge adequately

reflects the seriousness ofthe actual offense behavior and accepting the Agreement

will not undermine the statutory purposes of sentencing.

                          WAIVER OF TRIAL RIGHTS


      15.    The defendant understands that by pleading guilty he surrenders

certain rights, including the following:

             a.    Ifthe defendant persisted in a plea ofnot guilty to the charges

against him,then he would have the right to a public and speedy trial. The trial

could be either a jury trial or a trial by ajudge sitting without a jury. The

defendant has a right to a jury trial. However, in order that the trial be conducted


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by the judge sitting without a jury, the defendant, the prosecution, and the judge all

must agree that the trial be conducted by the judge without a jury.

             b.    Ifthe trial is a jury trial, the jury would be composed oftwelve

laypersons selected at random. The defendant and his attorney would have a say

in who the jurors would be by removing prospective jurors for cause where actual

bias or other disqualification is shown, or without cause by exercising peremptory

challenges. The jury would have to agree unanimously before it could return a

verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict him unless, after

hearing all the evidence, it was persuaded of his guilt beyond a reasonable doubt.

             c.    Ifthe trial is held by a judge without a jury, the judge would

find the facts and determine, after hearing all the evidence, whether or not he or

she was persuaded ofthe defendant's guilt beyond a reasonable doubt.

             d.    At a trial, whether by a jury or a judge, the prosecution would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those prosecution witnesses and his attorney

would be able to cross-examine them. In turn, the defendant could present

witnesses and other evidence on his own behalf. Ifthe witnesses for the defendant


would not appear voluntarily, the defendant could require their attendance through

the subpoena power ofthe Court.


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             e.     At a trial, the defendant would have a privilege against

self-incrimination so that he could decline to testify, and no inference of guilt

could be drawn from his refusal to testify.

      16.    The defendant understands that by pleading guilty, he is waiving all of

the rights set forth in the preceding paragraph. The defendant's attorney has

explained those rights to him, and the consequences ofthe waiver ofthose rights.

                         USE OF PLEA STATEMENTS


      17.    If, after signing this Agreement,the defendant decides not to plead

guilty as provided herein, or ifthe defendant pleads guilty but subsequently makes

a motion before the Court to withdraw his guilty plea and the Court grants that

motion,the defendant agrees that any admission of guilt that he makes by signing

this Agreement or that he makes while pleading guilty as set forth in this

Agreement may be used against him in a subsequent trial if the defendant later

proceeds to trial. The defendant voluntarily, knowingly, and intelligently waives

any protection afforded by Rule 11(f) ofthe Federal Rules of Criminal Procedure

and Rule 410 ofthe Federal Rules ofEvidence regarding the use of statements

made in this Agreement or during the course of pleading guilty when the guilty

plea is later withdrawn. The only exception to this paragraph is where the

defendant frilly complies with this Agreement but the Court nonetheless rejects it.




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Under those circumstances, the United States may not use those statements ofthe

defendant for any purpose.

      18.    The defendant understands that the prosecution will apprise the Court

and the United States Probation Office ofthe nature, scope and extent ofthe

defendant's conduct regarding the charges against him,related matters, and any

matters in aggravation or mitigation relevant to the issues involved in sentencing.

      19.    The defendant and his attorney acknowledge that, apart jfrom any

written proffer agreements,if applicable, no threats, promises, agreements or

conditions have been entered into by the parties other than those set forth in this

Agreement,to induce the defendant to plead guilty. Apart fi^om any written

proffer agreements, if applicable, this Agreement supersedes all prior promises,

agreements or conditions between the parties.

      20.    To become effective, this Agreement must be signed by all signatories

listed below.


      21.    Should the Court refuse to accept this Agreement, it is null and void

and neither party shall be bound thereto.




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                                               DEC 1 6 2019
            DATED: Honolulu, Hawaii,

AGREED:


KENJI M.PRICE
United States Attorney
District of Hawaii



MICHAEL NAMMAR                              •Gi\N^U
Chief, Crifhihal Division                  <tomey for Defendant



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